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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK
_________________________________________________________________

KIRAN VUPPALA,                                             CASE NO: 1:20-cv-6808

         Plaintiff,

vs.                                                        COMPLAINT

535 HUDSON REALTY LLC, a New York
limited liability company,

      Defendant.
___________________________________/

         Plaintiff, KIRAN VUPPALA (hereinafter the “Plaintiff”), through his undersigned

counsel, hereby files this Complaint and sues 535 HUDSON REALTY LLC, a New York

limited liability company, (hereinafter, the “Defendant”), for injunctive relief, attorney’s

fees and costs (including, but not limited to, court costs and expert fees) pursuant to 42

U.S.C. §12181, et. seq., of the AMERICANS WITH DISABILITIES ACT (“ADA”), the

NEW YORK CITY HUMAN RIGHTS LAW ("NYCHRL"), and the NEW YORK STATE

HUMAN RIGHTS LAW (“NYSHRL”) and alleges:

                              JURISDICTION AND PARTIES

         1.      This is an action for declaratory and injunctive relief pursuant to Title III of

the Americans With Disabilities Act, 42 U.S.C. §12181, et. seq., (hereinafter referred to as

the “ADA”). This Court is vested with original jurisdiction under 28 U.S.C. §1331 and

§343.

         2.      Venue is proper in this Court, pursuant to 28 U.S.C. §1391(b)

in that all events giving rise to this lawsuit occurred in New York.




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         3.    The remedies provided by the New York State Human Rights Law are not

exclusive and state administrative remedies need not be exhausted in connection with suits

brought under the Federal Civil Rights Act.

         4.    At the time of Plaintiff’s visit to Defendant’s Property, and previous tenant

Macondo Belts, prior to instituting the instant action, KIRAN VUPPALA (hereinafter

referred to as “Plaintiff”), suffered from what constitutes a “qualified disability” under the

Americans With Disability Act of 1990, as he is a paraplegic and uses a wheelchair for

mobility. The Plaintiff personally visited Defendant’s Property, but was denied full and

equal access to, and full and equal enjoyment of, the facilities at Defendant’s Property,

which is the subject of this lawsuit.

         5.    The Defendant, 535 HUDSON REALTY LLC, a New York limited liability

company, is conducting business within the State of New York. Upon information and

belief 535 HUDSON REALTY LLC, is the owner, landlord and/or lessor of the real

property, where the Macondo Belts Subject Facility was, and Defendant’s Property is

located at 535 Hudson Street, New York, New York, which is the subject of this action

(hereinafter and heretofore referred to as “Defendant’s Property”), and which also maintains

and controls Defendant’s Property.

         6.    All events giving rise to this lawsuit occurred in the City of New York, State

of New York. Venue is proper in this Court as the premises is located in the State of New

York.

  COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

         7.    On or about July 26, 1990, Congress enacted the Americans With

Disabilities Act (“ADA”), 42 U.S.C. §12101, et. seq.          Commercial enterprises were

provided one and a half years from enactment of the statute to implement its requirements.

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The effective date of the Title III of the ADA was January 26, 1992. 42 U.S.C. §12181; 20

C.F.R. §36.508(a).

       8.     Congress found, among other things, that:

              (i)     some 43,000,000 Americans have one or more physical or
              mental disabilities, and this number shall increase as the population
              continues to grow older;

              (ii)    historically, society has tended to isolate and segregate
              individuals with disabilities, and, despite some improvements, such
              forms of discrimination against disabled individuals continue to be
              a pervasive social problem, requiring serious attention;

              (iii)     discrimination against disabled individuals persists in such
              critical areas as employment, housing, public accommodations,
              transportation, communication, recreation, institutionalization,
              health services, voting and access to public services and public
              facilities;

              (iv)      individuals with disabilities continually suffer forms of
              discrimination, including outright intentional exclusion, the
              discriminatory effects of architectural, transportation, and
              communication barriers, failure to make modifications to existing
              facilities and practices. Exclusionary qualification standards and
              criteria, segregation, and regulation to lesser services, programs,
              benefits, or other opportunities; and,

              (v)       the continuing existence of unfair and unnecessary
               discrimination and prejudice denies people with disabilities the
               opportunity to compete on an equal basis and to pursue those
               opportunities for which our country is justifiably famous, and costs
               the United States billions of dollars in unnecessary expenses
               resulting from dependency and non-productivity.

              42 U.S.C. §12101(a)(1)-(3), (5) and (9).

       9.     Congress explicitly stated that the purpose of the ADA was to:

              (i)    provide a clear and comprehensive national mandate for the
              elimination of discrimination against individuals with disabilities;

              (ii)   provide clear, strong, consistent, enforceable standards
              addressing discrimination against individuals with disabilities; and,

              (iii) invoke the sweep of congressional authority, including the
              power to enforce the fourteenth amendment and to regulate
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                commerce, in order to address the major areas of discrimination
                faced on a daily by people with disabilities.

                42 U.S.C. §12101(b)(1)(2) and (4).

        10.     Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, at the time of

Plaintiff’s visit, the Subject Facility and Defendant’s Property was a place of public

accommodation, and it is believed that Defendant’s Property will likewise be reopened to

the public in the future.

        11.     The Plaintiff believes that the Defendant has the financial ability to make the

readily achievable accessibility modifications that are required under the ADA.

        12.     Defendant had discriminated against the Plaintiff, and others who are

similarly situated, by denying full and equal access to, and full and equal enjoyment of the

facilities, privileges, advantages and/or accommodations at Defendant’s Property, in

derogation of 42 U.S.C. §12101, et. seq., and as prohibited by 42 U.S.C. §12182, et. seq.,

and by failing to remove architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(a)(iv),

where such removal is readily achievable.

        13.     The Plaintiff had been unable to, and will continue to be unable to visit the

future facility, and enjoy full and equal safe access to, and the benefits of, all the

accommodations and services offered at Defendant’s Property, due to the architectural

barriers at the Subject Facility. Prior to instituting the instant action, Plaintiff personally

visited Defendant’s Property, and previous tenant Macondo Belts, with the intention of

using Defendant’s facilities, but was denied access into the Subject Property, and therefore

suffered an injury in fact. In addition, Plaintiff continues to desire to visit Defendant’s

Property in the future when it reopens to the public, but will be unable to due to the

inaccessible architectural barriers which remain at Subject Property, all in violation of the

ADA, and the New York State Human Rights Law.
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        14.          Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal Regulations to

implement the requirements of the ADA, known as the Americans with Disabilities Act

Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under which said

Department may obtain civil penalties of up to $110,000 for the first violation and $150,000

for any subsequent violation.

        15.          The Defendant’s Subject Facility is in violation of 42 U.S.C. §12181, et. seq.,

the ADA and 28 C.F.R. §36.302, et. seq., and discriminated against the Plaintiff as a result

of inter alia, the following specific ADA violations:

              (i)       Failure to provide an accessible entrance to the Subject Facility, due to

                        multiple steps at said entrance, without an ADA-compliant ramp, ADA-

                        compliant directional signage and/or an ADA-compliant wheelchair lift,

                        in violation of 28 C.F.R. Part 36, Section 4.14.

              (ii)      Failure to provide a safe and accessible means of egress from the Subject

                        Facility, in violation of 28 C.F.R. Part 36, Section 4.3.10.

              (iii)     Failure to provide ADA compliant directional and/or informational

                        signage at the Subject Facility, as required by 28 C.F.R. Part 36, Section

                        4.1.3(16).

       17.      Upon information and belief, there are other current violations of the ADA at

Defendant’s Property, and only once a full inspection is done can all said violations be

identified.

       18.      To date the architectural barriers, the removal of which is readily achievable,

and other violations of the ADA still exist and have not been fully remedied or altered in

such a way as to fully comply with the provisions of the ADA.

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       19.    Pursuant to the ADA, 42 U.S.C. §12101, et seq., and 28 C.F.R. §36.304, the

Defendants are required to make the Subject Facility and Defendants’ Property accessible

to persons with disabilities since January 28, 1992. To date, the Defendants have failed to

fully comply with this mandate.

       20.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

the Plaintiff’s injunctive relief; including an order to alter the Subject Facility and

Defendants’ Property to make it independently accessible to, and useable by, individuals

with disabilities to the extent required by the ADA, prior to it being reopened to the public.

COUNT II - VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS LAW

       21.    The New York City Human Rights Law provides:

                (a) It shall be an unlawful discriminatory practice for any person, being the
                owner, lessee, proprietor, manager, superintendent, agent or employee of
                any place or provider of public accommodation because of the actual or
                perceived … disability … of any person, directly or indirectly, to refuse,
                withhold from or deny to such person any of the accommodations,
                advantages, facilities or privileges thereof … to the effect that any of the
                accommodations, advantages, facilities and privileges of any such place or
                provider shall be refused, withheld from or denied to any person on account
                of … disability …

                NYC Admin. Code § 8-107(4)(a).

        22.     Defendant, 535 HUDSON REALTY LLC, a New York limited liability

company, is in violation of the New York City Human Rights Law by denying the Plaintiff

full and safe access to all of the benefits, accommodations and services of the Subject Facility

and/or Defendants’ Property.

        23.   The Plaintiff repeats and re-alleges the allegations of paragraphs 1 through 20

as if set forth in their entirety here.

 COUNT III - VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS LAW

        24.   The New York State Human Rights Law provides:

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                (a) It shall be an unlawful discriminatory practice for any person, being the
                owner, lessee, proprietor, manager, superintendent, agent or employee of
                any place of public accommodation…. because of the … disability … of
                any person, directly or indirectly, to refuse, withhold from or deny to such
                person any of the accommodations, advantages, facilities or privileges
                thereof … to the effect that any of the accommodations, advantages,
                facilities and privileges of any such place shall be refused, withheld from
                or denied to any person on account of … disability …

                NYS Exec. Law § 296 (2)(a).

        25.     Defendant’s Property was, and shall likely be in the future, a place of public

accommodation as defined in the New York State Human Rights Law.

        26.   The Defendant has further violated the New York State Human Rights Law by

being in violation of the rights provided under the ADA.

        27.   Defendant 535 HUDSON REALTY LLC, a New York limited liability

company, is in violation of the New York State Human Rights Law by having denied the

Plaintiff full and safe access to all of the benefits, accommodations and services of the

Subject Facility and/or Defendants’ Property.

        28.   The Plaintiff repeats and re-alleges the allegations of paragraphs 1 through 22

as if set forth in their entirety here.

           COUNT IV - VIOLATION OF THE ADMINISTRATIVE CODE
                        OF THE CITY OF NEW YORK

        29.   The Defendant has subjected the Plaintiff to disparate treatment by having

directly and/or indirectly refused, withheld, and denied the full accommodations of the

Subject Facility and/or Defendants’ Property, and advantages, facilities and privileges

therein, all because of Plaintiff’s disability, in violation of Administrative Code § 8-107(4).

        30.   The Defendant has discriminated against Plaintiff in violation of

Administrative Code of the City of New York, § 8-107(4), and Local Law 58 by having

maintained and/or created an inaccessible place of public accommodation.

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           31.   The Local Civil Rights Restoration Act of 2005 (the "Restoration Act"), also

known as Local Law 58, clarified the scope of the Administrative Code in relation to the

New York City's Human Rights Law. The Restoration Act confirmed the legislative intent

to abolish "parallelism" between the Administrative Code and the Federal and New York

State anti-discrimination laws by stating as follows:

           The provisions of this title shall be construed liberally for the
           accomplishment of the uniquely broad and remedial purposes thereof,
           regardless of whether federal or New York State civil and human rights laws,
           including those laws with provisions comparably-worded to provisions of
           this title, have been so construed.

Restoration Act § 7 amending Administrative Code § 8-130 (emphasis added).

           32.   The Administrative Code is to be construed broadly in favor of Plaintiff to the

fullest extent possible. Albunio v. City of New York, 2011 NY Slip Op 02480 (N.Y. Court

of Appeals, March 31, 2011).

           33.   As a direct and proximate result of the Defendant’s unlawful discrimination,

in violation of Administrative Code of the City of New York, Plaintiff has suffered an injury

in fact.

           34.   The Defendant’s long-standing refusal and/or lack of effort to make

Defendant’s Property fully accessible was egregious and undertaken with reckless disregard

to Plaintiff's rights under the Administrative Code.

           35.   By failing to comply with the law in effect for decades, the Defendant had

articulated to disabled persons, such as the Plaintiff, that they in effect are not welcome and

not desired at Defendant’s Property.

           36.   The Defendant’s past unlawful discriminatory conduct constitutes willful and

wanton violations of the Administrative Code for which Plaintiff is entitled to an award of

punitive damages. Administrative Code § 8-502.

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        37.    The Plaintiff repeats and re-alleges the allegations of paragraphs 1 through 27

as if set forth in their entirety here.

                                 ATTORNEYS’ FEES AND COSTS

        38.   The Plaintiff has been obligated to retain the undersigned counsel for the filing

and prosecution of this action. The Plaintiff is entitled to have his reasonable attorneys’

fees, costs and expenses paid by the Defendant, pursuant to the ADA and the New York

City Human Rights Law.

        39.   Plaintiff prays for judgment pursuant to N.Y. Exec. Law § 297, including

compensatory damages contemplated by § 297(9).

                                            DAMAGES

        40.   The Plaintiff demands one thousand dollars ($1,000.00) in compensatory

damages based on Defendant’s violation of the New York City Human Rights Law and the

New York State Human Rights Law, plus punitive damages pursuant to the Administrative

Code of the City of New York.

                                          INJUNCTIVE RELIEF

        41.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

the Plaintiff’s injunctive relief; including an order to alter the Subject Facility and

Defendant’s Property to make it readily accessible to, and useable by, individuals with

disabilities to the extent required by the ADA, the New York City Human Rights Law, and

the New York State Human Rights Law, prior to it being reopened to the public.

        WHEREFORE, the Plaintiff hereby demands judgment against the Defendant and

requests the following injunctive and declaratory relief:

        A.      The Court declare that the Subject Property and Subject Facility owned,

                operated, leased, controlled and/or administered by the Defendant is

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              violative of the ADA, the New York City Human Rights Law, and of the

              New York State Human Rights Law;

       B.     The Court enter an Order requiring the Defendant to alter Defendant’s

              Property and Subject Facility to make them accessible to and usable by

              individuals with disabilities to the full extent required by the Title III of the

              ADA and by NYCHRL, and the NYSHRL;

       C.     The Court enter an Order directing the Defendant to evaluate and neutralize

              its policies, practices and procedures toward persons with disabilities, for

              such reasonable time so as to allow the Defendant to undertake and complete

              corrective procedures to the Defendant’s Property;

       D.     The Court award reasonable attorney’s fees, all costs (including, but not

              limited to court costs and expert fees) and other expenses of suit, to the

              Plaintiff; and

       E.     The Court award such other and further relief as it deems necessary, just and

              proper.

Dated: This 24th day of August, 2020.

                                              Respectfully submitted,

                                              By: /S/ B. Bradley Weitz           .
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